Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 1 of 23 Page ID
                                 #:1158



 1   Brian S. Kabateck (State Bar No. 152054)
     bsk@kbklawyers.com
 2   Richard L. Kellner (State Bar No. 171416)
     rlk@kbklawyers.com
 3   KABATECK BROWN KELLNER LLP
     644 South Figueroa Street
 4   Los Angeles, CA 90017
     Telephone: 213.217.5000
 5   Facsimile: 213.217.5010
 6   Glenn C. Nunes (State Bar No. 210453)
     glenn@nuneslawgroup.com
 7   THE NUNES LAW GROUP
     1 Sansome Street, Suite 3500
 8   San Francisco, CA 94104
     Telephone: 415.946.8894
 9   Facsimile: 415.946.8801
10   Christopher J. Hamner (State Bar No. 197117)
     chamner@hamnerlaw.com
11   HAMNER LAW OFFICES, APC
     555 W. 5th Street, 31st Floor
12   Los Angeles, CA 90013
     Telephone: 213.533.4160
13   Facsimile: 213.533.4167
14   Attorneys for Plaintiffs and the Proposed Class
15                         UNITED STATES DISTRICT COURT
16                        CENTRAL DISTRICT OF CALIFORNIA
17                                 WESTERN DIVISION
18
                                            )
19   DAWN FAIRCHILD, ROBERT                 )    No. CV 09-03568 CAS (PLAx)
     NACHSHIN, BRIAN GEERS and              )
20   LAURENCE GERARD, on behalf of          )    MEMORANDUM OF POINTS
     themselves and all other similarly     )    AND AUTHORITIES IN
21   situated,                              )    SUPPORT OF PLAINTIFFS’
                                            )    MOTION FOR FINAL
22                           Plaintiffs,    )    APPROVAL OF REVISED
                                            )    CLASS ACTION SETTLEMENT
23           vs.                            )
                                            )    Date:  December 23, 2013
24   AOL, LLC, a Delaware Limited           )    Time:  12:00 p.m.
     Liability Company; and DOES 1          )    CrtRm: 5
25   through 10 inclusive,                  )
                                            )    Honorable Christina A. Snyder
26                           Defendants.    )
                                            )
27

28
     601944516v2                                                       Case No. CV 09-03568 CAS (PLAx)
                                                       MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                 PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                         CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 2 of 23 Page ID
                                 #:1159



 1

 2
                                               TABLE OF CONTENTS

 3

 4                                                          Contents
 5   I.          INTRODUCTION ................................................................................... 1
 6
     II.         OVERVIEW OF THE ACTION ............................................................. 3
 7
     III.        SUMMARY OF THE SETTLEMENT TERMS AND THE DUE
 8               DILIGENCE INVESTIGATION ............................................................ 4
 9
            A.        The Settlement Class .......................................................................... 4
10          B.        The Settlement Relief ......................................................................... 5
11          C.        Notice ................................................................................................. 6
12          D.        Attorneys’ Fees .................................................................................. 7
     IV.         THE STANDARD FOR JUDICIAL APPROVAL OF CLASS
13
                 SETTLEMENTS ..................................................................................... 7
14
            A.        The Court Should Approve the Proposed Revised Settlement .......... 7
15
            B.        Final Approval is Appropriate Because the Proposed Revised
16                    Settlement is “Fair, Reasonable and Adequate” .............................. 11
17               1.      The Revised Settlement is the Result of Arm’s-Length
                         Negotiations ................................................................................ 13
18               2.      The Class Received Benefits Through Prospective Relief
19                       and Charitable Contributions ...................................................... 15
                 3.      Class Counsel Performed Sufficient Research and Analysis
20
                         to Adequately Assess the Revised Settlement and Was
21                       Able to Identify the Strengths and Weaknesses of the Case ...... 15
22               4.      The Recommendations of Experienced Class Counsel
                         Heavily Favor Approval of the Revised Settlement ................... 16
23
                 5.      The Reaction of the Class Supports Approval of the
24                       Revised Settlement ...................................................................... 17
25   V.          CONCLUSION ..................................................................................... 18
26
27

28
     601944516v2                                                    i                         Case No. CV 09-03568 CAS (PLAx)
                                                                              MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                                        PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                                                CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 3 of 23 Page ID
                                 #:1160



 1

 2                                         TABLE OF AUTHORITIES
 3                                                    Cases
 4   Amchem Products, Inc. v. Windsor,
          521 U.S. 591(1997) ..................................................................................7
 5

 6   Blackie v. Barrack,
           524 F.2d 891 (9th Cir. 1975) ..............................................................8, 11
 7
     Boyd v. Bechtel Corp.,
 8         485 F. Supp. 610 (N.D. Cal. 1979) ........................................................13
 9
     Class Plaintiffs v. City of Seattle,
10         955 F.2d 1268 (9th Cir. 1992) ................................................................13
11   Cotton v. Hinton,
           559 F.2d 1326 (5th Cir. 1977) ................................................................17
12

13   County of Suffolk v. Long Island Lighting Co.,
          907 F.2d 1295 (2d Cir. 1990) .................................................................14
14
     De La Fuente v. Stokely - Van Camp, Inc.,
15        713 F.2d 225 (7th Cir. 1983) ....................................................................9
16
     Ellis v. Naval Air Rework Facility,
17          87 F.R.D. 15 (N.D. Cal. 1980), aff’d without op.,
            661 F.2d 939 (9th Cir. 1981) ..................................................................12
18
     Hanlon v. Chrysler Corp.,
19
          150 F.3d 1011 (9th Cir. 1998) ....................................................... 7, 8, 17
20
     Hanon v. Dataproducts Corp.,
21        976 F.2d 497 (9th Cir. 1992) ....................................................................9
22   In re Glassine & Greaseproof Paper Antitrust Litigation,
23          88 F.R.D. 302 (E.D. Pa. 1980) .................................................................9

24   In re Holocaust Victim Assets Litigation,
            105 F. Supp. 2d 139 (E.D.N.Y. 2000) ....................................................14
25
     In re Lorazepam,
26
            205 F.R.D. 369 (D.D.C. 2002) ........................................................ 13, 16
27

28
     601944516v2                                          ii                         Case No. CV 09-03568 CAS (PLAx)
                                                                     MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                               PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                                       CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 4 of 23 Page ID
                                 #:1161



 1   In re Mego Fin. Corp. Sec. Litig.,
           213 F.3d 454 (9th Cir. 2000) ..................................................................12
 2

 3   In re NASDAQ Market-Makers Antitrust Litigation,
            176 F.R.D. 99 (S.D.N.Y. 1997)..............................................................14
 4
     In re Pacific Enter. Sec. Litig.,
 5          47 F.3d 373 (9th Cir. 1995) ....................................................................12
 6
     In re PaineWebber Ltd. Partnerships Litig.,
 7          171 F.R.D. 104 (S.D.N.Y. 1997), aff‘d,
            117 F.3d 721 (2d Cir. 1997) ...................................................................17
 8
     Joel A. v. Giuliani,
 9
           218 F.3d 132 (2d Cir. 2000) .....................................................................7
10
     Linney v. Cellular Alaska Partnership,
11         151 F.3d 1234 (9th Cir. 1998) ................................................................12
12   Longman v. Food Lion, Inc.,
13        Nos. 4:92CV00696, 4:92CV00705, 1994 WL 686624
          (M.D.N.C. Oct. 17, 1994).......................................................................10
14
     Luevano v. Campbell,
15        93 F.R.D. 68 (D.D.C. 1981) ...................................................................16
16
     Lynch v. Rank,
17        604 F. Supp. 30 (N.D. Cal. 1984) ..........................................................10
18   Marshall v. Holiday Magic, Inc.,
          550 F.2d 1173 (9th Cir. 1977) ......................................................... 12, 18
19

20   MWS Wire Indus., Inc. v. California Fine Wire Co.,
         797 F.2d 799 (9th Cir. 1986) ..................................................................11
21
     Nat’l Rural Telecoms. Coop. v. DIRECTV, Inc.,
22         221 F.R.D. 523 (C.D. Cal. 2004) ...........................................................17
23
     Officers for Justice v. Civil Service Commission,
24         688 F.2d 615 (9th Cir. 1982), cert. denied,
           459 U.S. 1217 (1983) ...................................................................... 12, 13
25
     Pigford v. Glickman,
26
           185 F.R.D. 82 (D.D.C. 1999) .................................................................14
27

28
     601944516v2                                         iii                         Case No. CV 09-03568 CAS (PLAx)
                                                                     MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                               PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                                       CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 5 of 23 Page ID
                                 #:1162



 1   Rosario v. Livaditis,
           963 F.2d 1013 (7th Cir. 1992) ............................................................9, 11
 2

 3   Sala v. National R.R. Passenger Corp.,
           721 F. Supp. 80 (E.D. Pa. 1989) ............................................................17
 4
     Scholes v. Stone, McGuire & Benjamin,
 5         143 F.R.D. 181 (N.D. Ill. 1992) ...............................................................9
 6
     Schwartz v. Harp,
 7        108 F.R.D. 279 (C.D. Cal. 1985) .............................................................9
 8   Smith v. University of Washington Law School,
           2 F. Supp. 2d 1324 (W.D. Wa. 1998).......................................................9
 9

10   Thomas v. Albright,
          139 F.3d 227 (D.C. Cir. 1998) ...............................................................11
11
     Torrisi v. Tucson Elec. Power Co.,
12         8 F.3d 1370 (9th Cir. 1993) ....................................................................12
13
     Van Bronkhorst v. Safeco Corp.,
14        529 F.2d 943 (9th Cir. 1976) ........................................................... 11, 12
15   Williams v. First Nat’l Bank,
           216 U.S. 582 (1910) ...............................................................................11
16

17   Yamner v. Boich,
          No. C-92-20597 RPA, 1994 WL 514035
18        (N.D. Cal. Sept. 15, 1994) ......................................................................10
19                                           Rules and Regulations
20   Federal Rule of Civil Procedure
21         Rule 23(a) ...................................................................................... 7, 8, 10
           Rule 23(a)(2) ............................................................................................8
22         Rule 23(b) ................................................................................ 7, 8, 10, 11
           Rule 23(b)(3) ..........................................................................................11
23
           Rule 23(e) ...................................................................................... 2, 7, 12
24
                                                Other Authorities
25
     Manual for Complex Litigation (Third) § 30.42 (1995)...................................16
26
     Moore’s Federal Practice § 23.22[1][a] (2013) ..................................................8
27
     Newberg on Class Actions § 11.41 ..................................................................16
28
     601944516v2                                             iv                         Case No. CV 09-03568 CAS (PLAx)
                                                                        MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                                  PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                                          CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 6 of 23 Page ID
                                 #:1163



 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.      INTRODUCTION
 3           This motion seeks final approval of a settlement that had previously
 4   been finally approved by this Court on December 31, 2009,1 but was affirmed
 5   in part and reversed in part by the Ninth Circuit in an opinion issued on
 6   November 21, 2011. The revised settlement addresses the only ground upon
 7   which the Ninth Circuit reversed the granting of final approval – the cy pres
 8   award. The revised settlement addresses the cy pres issue on which the Ninth
 9   Circuit reversed, plus (1) provides disclosures in the settlement notice and
10   revised settlement agreement of the relationship between class representatives
11   and the charities they selected to receive a donation in lieu of an incentive
12   payment; (2) is updated to reflect events that have occurred consistent with the
13   original settlement (e.g., AOL has discontinued its practice of using the e-mail
14   footers at issue, Plaintiffs filed an amended complaint, and attorneys’ fees
15   have been paid); and (3) revises the class definition to AOL members as of
16   August 1, 2009, which is the date on or around when AOL discontinued its
17   practice of appending footers to its members’ outgoing e-mails.2
18           Notwithstanding the additional work that Class Counsel performed in
19   connection with the appeal and this subsequent approval process, Class
20   Counsel will not be seeking a fee beyond that which had been approved under
21   the original settlement.
22

23
     1
24     This Court’s December 31, 2009, Final Order Re Approval of Class Action
       Settlement and Final Judgment (Docket No. 53-3) is attached as Exhibit D to
25     the Declaration of Richard Kellner (“Kellner Decl.”), filed concurrently.
     2
26     A copy of the settlement agreement showing in redline the revisions to the
       revised settlement agreement from the original version previous approved is
27     attached as Exhibit C to the Kellner Decl.
28
     601944516v2                              1                         Case No. CV 09-03568 CAS (PLAx)
                                                        MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                  PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                          CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 7 of 23 Page ID
                                 #:1164



 1           Pursuant to Rule 23(e) of the Federal Rules of Civil Procedure,
 2   Plaintiffs respectfully submit this Memorandum of Points & Authorities in
 3   support of their motion seeking entry of an Order for Final Approval of the
 4   Revised Class Action Settlement.
 5           This class action concerns claims by all AOL members as of August 1,
 6   2009. During the months following filing of the complaint, all parties
 7   expended substantial amounts of time, energy, and resources to investigate and
 8   develop their respective positions. Based on their prosecution of this case and
 9   their independent evaluation, Class Counsel is of the opinion that the
10   settlement with AOL is reasonable, fair and adequate. The settlement is in the
11   best interest of the class in light of known facts and circumstances. The
12   settlement is the result of arm’s-length negotiations between Class Counsel,
13   experienced in complex class actions, and counsel for Defendant AOL Inc.,
14   formerly known as AOL, LLC (“AOL”).
15           Pursuant to the proposed revised settlement agreement (“Revised
16   Settlement”), AOL will provide: (i) prospective relief to customers through
17   reformed business practices, and (ii) retrospective relief in the form of
18   substantial charitable donations. AOL no longer uses the e-mail footers at
19   issue in this action. Each class member will benefit by the fact that if AOL
20   elects to re-establish its footer practice, it will no longer be able to profit from
21   the offending practice without notifying class members of the footers and their
22   ability to disable them. Under the terms of the Revised Settlement, AOL will
23   donate $110,000 to five charities. Recovery will not be diminished in any way
24   by the payment of reasonable attorneys’ fees and costs, or the administration
25   of this Revised Settlement. AOL has already paid Class Counsel’s fees
26   separately and will serve as Settlement Administrator at its own expense for
27   purposes of this Revised Settlement.
28
     601944516v2                               2                         Case No. CV 09-03568 CAS (PLAx)
                                                         MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                   PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                           CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 8 of 23 Page ID
                                 #:1165



 1            The proposed Revised Settlement is manifestly fair, reasonable and
 2   adequate relief. It ends AOL’s ability, if it elects to re-establish its former
 3   footer practice, to profit from intrusive advertisements without first notifying
 4   class members and benefits several worthy charities. These benefits come
 5   without the delay and risk associated with complex litigation. For the above
 6   reasons, Plaintiffs respectfully request that the Court grant Final Approval of
 7   the Revised Settlement.
 8   II.      OVERVIEW OF THE ACTION
 9            AOL offers numerous Internet related services on both a free and paid
10   basis. Plaintiffs and class members obtained internet services through AOL by
11   registering AOL accounts that enabled the account-holders to generate and
12   receive e-mails. In or around February 2006, AOL began inserting
13   promotional messages as a footer attached to the end of e-mails sent by paying
14   and non-paying subscribers to AOL’s e-mail service. At first, these footers
15   promoted AOL’s own products and services. Beginning in October 2008, the
16   footers began to display promotional materials from third party advertisers.
17   (Declaration of Richard L. Kellner (“Kellner Decl.”), Ex. A, pp. 9:16-10:21.)
18   Discovery has revealed that AOL generated approximately $1.1 million in
19   revenue from this practice. (Id. at pp. 37:6-8.)
20            AOL did not disclose in its terms of service that it would place the
21   footers on subscriber e-mails. Moreover, until April 2008, AOL did not
22   provide a method to discontinue the ad placements. (Id. at pp. 22:10-24:3.)
23   After that time, a paid subscriber could contact AOL and request that AOL
24   stop inserting the footers at the bottom of that subscriber’s e-mail. (Id.) AOL,
25   however, never notified paid subscribers of its new policy. (Id. at pp. 24:7-
26   26:3.)
27

28
     601944516v2                               3                         Case No. CV 09-03568 CAS (PLAx)
                                                         MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                   PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                           CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 9 of 23 Page ID
                                 #:1166



 1           After extensive, arm’s-length negotiations under the auspices of retired
 2   United States District Court Judge Dickran M. Tevrizian, and following
 3   substantial factual investigation and legal analysis of the claims and defenses
 4   of the parties, the parties reached a proposed settlement as set forth in the
 5   original settlement agreement. This Court granted final approval of the
 6   original settlement on December 31, 2009. On November 21, 2011, the Ninth
 7   Circuit affirmed in part and reversed in part, reversing only the cy press
 8   recipients.
 9           On August 26, 2013, the parties appeared for Preliminary Approval of
10   the Revised Class Action Settlement and concomitant notice plan. On
11   September 4, 2013, the Court preliminarily approved the Revised Settlement,
12   certified the class for purposes of the Revised Settlement, and approved the
13   proposed method of giving notice. On or about September 10, 2013, AOL
14   provided notice via e-mail to all class members. Notice was sent to each class
15   members’ AOL e-mail address and the period for opting out or objecting to
16   the settlement expires on the date this Motion is filed (December 9, 2013).
17   III.    SUMMARY OF THE SETTLEMENT TERMS AND THE DUE
18           DILIGENCE INVESTIGATION
19           The following is only a summary of the Revised Settlement. The full
20   text of the Revised Settlement, and its accompanying exhibits, are attached as
21   Exhibit B to the Declaration of Richard L. Kellner in support of Plaintiffs’
22   Motion for Final Approval and are incorporated herein by this reference.
23   Undefined capitalized terms have the meanings described in the Revised
24   Settlement.
25           A.    The Settlement Class
26           The Revised Settlement provides for the certification of a settlement
27   class defined as: All AOL members as of August 1, 2009, which is the date on
28
     601944516v2                              4                         Case No. CV 09-03568 CAS (PLAx)
                                                        MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                  PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                          CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 10 of 23 Page ID
                                 #:1167



 1   or around when AOL discontinued its practice of appending footers to its
 2   members’ outgoing e-mails (“Class,” “Settlement Class” or “Class
 3   Members”).
 4           B.    The Settlement Relief
 5           Since the original settlement previously approved by this Court, AOL
 6   has discontinued the practice of appending e-mail footers. Under the Revised
 7   Settlement, if AOL elects to re-establish its practice of appending footers onto
 8   subscribers’ outgoing e-mails, AOL will send notice to all Class Members of
 9   the existence of the footers and their ability to remove them from future e-
10   mails. Further, if AOL re-establishes this practice, AOL will inform all future
11   subscribers of the existence of the e-mail footers either as part of registering
12   for an AOL account or as part of an e-mail confirming registration of an AOL
13   account.
14           The Revised Settlement also provides that AOL will donate $37,500
15   each to two charitable organizations: (1) the Electronic Frontier Foundation
16   and (2) the Information Technology & Innovation Foundation. These entities
17   are specifically chosen because they meet the criteria set out by the Ninth
18   Circuit in that they: (1) have no relation to any Party; (2) focus upon
19   information technology and Internet related issues which address the objective
20   of the statutes underlying the litigation; (3) are not local charities, but rather
21   account for the broad geographic distribution of the Class; and (4) are likely to
22   benefit the Class of over 60 million Internet users. (Kellner Decl., Ex. B, ¶
23   23.)
24           In addition, a total of $35,000 will be donated to charities chosen by the
25   four settlement class representatives, who will not be receiving any incentive
26   payment. (Kellner Decl., Ex. B, ¶ 24.) Dawn Fairchild and Robert Nachshin
27   both designated the New Roads School of Santa Monica. Brian Geers
28
     601944516v2                               5                         Case No. CV 09-03568 CAS (PLAx)
                                                         MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                   PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                           CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 11 of 23 Page ID
                                 #:1168



 1   designated the Oklahoma Indian Legal Services. Laurence Gerard designated
 2   the Friars Foundation. (Id.) Each class representative’s relationship with the
 3   charity they selected to receive a donation is disclosed in the Notice and the
 4   Revised Settlement.3
 5            These donations total $110,000 and are to be disbursed within 30 days
 6   after entry of final approval.
 7            Individual Class Members were not compelled to take affirmative steps
 8   to avail themselves of the proposed Revised Settlement. The Notice to the
 9   Class provided clear and detailed instructions to enable dissenters to exclude
10   themselves from, object to, or appear in opposition to the content of the
11   Revised Settlement.
12            C.      Notice
13            As Settlement Administrator, AOL assumed primary responsibility for
14   directing Notice to the Class Members and handling any undelivered e-mail or
15   responses. Notice was sent to the AOL e-mail addresses of all AOL members
16   as of August 1, 2009. Additionally, AOL and Class Counsel established
17   websites designed to inform Class Members of their rights and responsibilities
18   vis-à-vis the Revised Settlement (www.aole-mailfootersettlement.com). On
19   this website Class Members could access copies of the Notice and the Revised
20   Settlement Agreement. AOL also provided a list of frequently asked questions
21   and their answers (“FAQs”), which could be accessed online at
22   http://emailfooternotice.com. AOL notified Class Members of these online
23   FAQs and where to access them in the Notice. This multi-pronged Internet-
24
     3
         The relationships between the class representatives and their selected charities are as
25       follows: (1) Ms. Fairchild is employed at her designated charity the New Roads School of
         Santa Monica; (2) Mr. Nachshin’s wife is on the Board of Trustees of his designated
26       charity the New Roads School of Santa Monica, (3) Mr. Geers has previously personally
         supported his designated charity the Oklahoma Indian Legal Services; and (4) Mr. Gerard
27       has previously worked at his designated charity the Friars Foundation. (Kellner Decl.,
         Ex. Ex. B, ¶ 24.)
28
     601944516v2                                    6                         Case No. CV 09-03568 CAS (PLAx)
                                                              MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                        PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                                CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 12 of 23 Page ID
                                 #:1169



 1   based approach was reasonably calculated to reach each Class Member, and
 2   was substantially successful in doing so.
 3           D.     Attorneys’ Fees
 4           Plaintiffs’ Counsel has been awarded and paid the following attorneys’
 5   fees and costs under the original settlement agreement: $160,000 for
 6   Kabateck Brown Kellner LLP and $160,000 to be shared between the Nunes
 7   Law Group and the Hamner Law Offices. (Kellner Decl., Ex. B, ¶¶ 26-27.)
 8   The Parties agree that there will be no additional request for attorneys’ fees or
 9   costs. (Id.)
10   IV.     THE STANDARD FOR JUDICIAL APPROVAL OF CLASS
11           SETTLEMENTS
12           Federal Rule of Civil Procedure, 23(e) requires court approval of any
13   settlement that effects the dismissal of a class action. Settlement agreements
14   reached before class certification must be reviewed both as to the requirements
15   for class certification and fairness of the settlement. Amchem Products, Inc. v.
16   Windsor, 521 U.S. 591, 621-22 (1997). First, the district court must determine
17   whether a certifiable class exists. Id. Then, “the district court [must]
18   determine that a class action settlement is fair, adequate, and reasonable.”
19   Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998); see also Joel
20   A. v. Giuliani, 218 F.3d 132, 138 (2d Cir. 2000).
21           A.     The Court Should Approve the Proposed Revised Settlement
22           Certification of the class is appropriate here. The usual standards for
23   Rule 23(a) and (b) certification apply in the settlement context, with the
24   exception of possible problems of trial management with respect to the settling
25   defendant, which are not to be considered, since the settled case will not be
26   tried. Amchem Products, Inc. v. Windsor, 521 U.S. 591, 621-22 (1997).
27

28
     601944516v2                               7                         Case No. CV 09-03568 CAS (PLAx)
                                                         MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                   PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                           CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 13 of 23 Page ID
                                 #:1170



 1           A class action is to be certified where, as here, the class satisfies the
 2   four prerequisites of Rule 23(a), as well as one of the three subsections of Rule
 3   23(b). This case fully meets the requirements of Rule 23(a):
 4           Numerosity: There is no issue of numerosity in the present case, since
 5   the class numbers in the tens of millions. See generally, 5 Moore, Moore’s
 6   Federal Practice § 23.22[1][a] (2013) (modern trend is that twenty-one or
 7   fewer plaintiffs will be insufficient, between twenty-one and forty plaintiffs
 8   will receive a mixed response, and with more than forty plaintiffs the courts
 9   generally find that the requirement of numerosity has been met).
10           Commonality: The second prerequisite to class certification is the
11   existence of questions of law or fact common to the class. Fed. R. Civ. P.
12   23(a)(2). The Ninth Circuit has made clear that the commonality requirement
13   is to be “construed permissively.” Hanlon, 150 F.3d at 1019. Commonality
14   can be established by showing “that the class is united by a common interest.”
15   Blackie v. Barrack, 524 F.2d 891, 901 (9th Cir. 1975) (holding, “[S]light
16   differences in class members’ positions” will not defeat commonality). The
17   existence of “shared legal issues” will satisfy the commonality requirement,
18   even if there are “divergent factual predicates.” Hanlon, 150 F.3d at 1019-20.
19   Commonality is established where the proposed class’ claims stem from the
20   same source. Id.
21           The overarching and unifying allegations in this action are the same:
22   (i) AOL placed promotional messages in the form of e-mail footers into
23   outgoing e-mail messages and failed to notify subscribers of their existence;
24   (ii) AOL lacked procedures by which customers could prevent this; and (iii)
25   when implemented, AOL failed to notify its customers of their ability to opt-
26   out.
27

28
     601944516v2                                8                         Case No. CV 09-03568 CAS (PLAx)
                                                          MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                    PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                            CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 14 of 23 Page ID
                                 #:1171



 1           Typicality: A plaintiff’s claim is typical “if it arises from the same
 2   event or practice or course of conduct that gives rise to the claims of other
 3   class members and his or her claims are based on the same legal theory.” De
 4   La Fuente v. Stokely-Van Camp, Inc., 713 F.2d 225, 232 (7th Cir. 1983).
 5   Slight factual distinctions between the named plaintiff and the claims of absent
 6   class members do not undermine typicality. In re Glassine & Greaseproof
 7   Paper Antitrust Litig., 88 F.R.D. 302, 304 (E.D. Pa. 1980). Rather, courts
 8   focus on the defendants’ conduct and the plaintiff’s legal theory. Rosario v.
 9   Livaditis, 963 F.2d 1013, 1018 (7th Cir. 1992).
10           When it is alleged that the same unlawful conduct was directed at or
11   affected both the named plaintiff and the class sought to be represented, the
12   typicality requirement is usually satisfied, irrespective of varying fact patterns
13   which underlie individual claims. Smith v. Univ. of Washington Law School, 2
14   F. Supp. 2d 1324, 1342 (W.D. Wa. 1998) (stating, “[t]ypicality turns on the
15   defendant’s actions toward the plaintiff class, not particularized defenses
16   against individual class members.”). Furthermore, the test for typicality is
17   whether other members have the same or similar injury, whether the action is
18   based on conduct which is not unique to the named plaintiffs, and whether
19   other class members have been injured by the same course of conduct. Hanon
20   v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992) (quoting Schwartz v.
21   Harp, 108 F.R.D. 279, 282 (C.D. Cal. 1985)). The typicality requirement is
22   liberally construed. Scholes v. Stone, McGuire & Benjamin, 143 F.R.D. 181,
23   185 (N.D. Ill. 1992).
24           In this case, the claims of the representative Plaintiffs arise from AOL’s
25   allegedly wrongful insertion of promotional footers into subscriber e-mails,
26   and AOL’s failure to provide adequate notice to the Class Members on how to
27   opt-out from having such footers added. Plaintiffs assert the same legal claims
28
     601944516v2                               9                         Case No. CV 09-03568 CAS (PLAx)
                                                         MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                   PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                           CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 15 of 23 Page ID
                                 #:1172



 1   on behalf of themselves and the proposed Class. They claim that AOL
 2   violated several state and federal laws by this common practice, and that AOL
 3   was unjustly enriched as a result. Therefore, Plaintiffs’ claims are certainly
 4   typical of the claims of the other members of the Class.
 5           Adequacy: The final requirement of Rule 23(a) is that the
 6   representative plaintiff fairly and adequately represents the interests of the
 7   class. Adequacy of the representation requires that the named representative’s
 8   attorney be qualified, experienced and generally capable to conduct the
 9   litigation, and that the named representative’s interests not be antagonistic to
10   the interests of the class. Lynch v. Rank, 604 F. Supp. 30, 37 (N.D. Cal. 1984).
11           Adequacy of representation does not require the representative plaintiff
12   to “possess encyclopedic knowledge of the legal theories supporting a class’
13   claims.” Longman v. Food Lion, Inc., Nos. 4:92CV00696, 4:92CV00705,
14   1994 WL 686624, at *3 (M.D.N.C. Oct. 17, 1994). Rather, a plaintiff is an
15   adequate class representative if he or she “has a basic understanding of the
16   allegations in [the] case.” Yamner v. Boich, No. C-92-20597 RPA, 1994 WL
17   514035, at *7 (N.D. Cal. Sept. 15, 1994).
18           Here, the interests of the representative Plaintiffs are not antagonistic to
19   the Class because they are all similarly interested in obtaining prompt and
20   valuable relief from AOL and ensuring that similar conduct does not happen in
21   the future. Plaintiffs have a genuine interest in the litigation and a basic
22   understanding of the allegations in this case. Additionally, Plaintiffs are
23   represented by counsel who are highly qualified in class action litigation.
24   (Kellner Decl., ¶ 9, Exs. E at ¶¶ 21-23, D at ¶¶ 13-15.) Therefore, the
25   proposed Class meets the adequacy of representation requirement.
26           Rule 23(b): Once the four prerequisites of Rule 23(a) are met, as they
27   are in this case, the potential class must also satisfy at least one provision of
28
     601944516v2                               10                         Case No. CV 09-03568 CAS (PLAx)
                                                          MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                    PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                            CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 16 of 23 Page ID
                                 #:1173



 1   Rule 23(b). Thomas v. Albright, 139 F.3d 227, 234 (D.C. Cir. 1998); see also
 2   Rosario, 963 F.2d at 1017. Pursuant to Rule 23(b)(3), certification is proper
 3   when “questions of law or fact common to the members of the class
 4   predominate over any questions affecting only individual members, and … a
 5   class action is superior to other available methods for the fair and efficient
 6   adjudication of the controversy.” These requirements are satisfied here.
 7           The questions of law and fact common to all class members are set forth
 8   above. These common issues predominate over any individual issues such as
 9   the nature and extent of damages. Blackie v. Barrack, 524 F.2d 891, 905 (9th
10   Cir. 1975) (“The amount of damages is invariably an individual question and
11   does not defeat class action treatment.”). Indeed, the underlying former AOL
12   practice of inserting promotional material into the footers of Class Members’
13   outgoing e-mail is the central issue that predominates this class action. The
14   damages issues in this case are easily manageable because Plaintiffs are not
15   seeking individual recovery, but rather securing a permanent change in AOL’s
16   conduct and policies as well as several charitable donations.
17           Additionally, a class action is clearly superior to other available
18   methods for the fair and efficient adjudication of the controversy because
19   joinder of all Class Members would be impracticable.
20           B.    Final Approval is Appropriate Because the Proposed Revised
21                 Settlement is “Fair, Reasonable and Adequate”
22           The “overriding public interest in settling and quieting litigation” is
23   “particularly true in class action suits.” Van Bronkhorst v. Safeco Corp., 529
24   F.2d 943, 950 (9th Cir. 1976) (footnote omitted). Without question,
25   “[c]ompromises of disputed claims are favored by the courts.” Williams v.
26   First Nat’l Bank, 216 U.S. 582, 595 (1910); see also, MWS Wire Indus., Inc. v.
27   Cal. Fine Wire Co., 797 F.2d 799, 802 (9th Cir. 1986); Officers for Justice v.
28
     601944516v2                               11                         Case No. CV 09-03568 CAS (PLAx)
                                                          MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                    PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                            CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 17 of 23 Page ID
                                 #:1174



 1   Civil Serv. Comm’n, 688 F.2d 615, 625 (9th Cir. 1982), cert. denied, 459 U.S.
 2   1217 (1983) (“[v]oluntary conciliation and settlement are the preferred means
 3   of dispute resolution.”). Class actions are particularly amenable to settlement
 4   because of the uncertainties of the outcome, the difficulty of proof and the
 5   typical length of litigation. Van Bronkhorst, 529 F.2d at 443.
 6           Under Federal Rule of Civil Procedure 23(e), a court should approve the
 7   settlement of a class action if it is “fundamentally fair, adequate and
 8   reasonable.” In re Pacific Enter. Sec. Litig., 47 F.3d 373, 377 (9th Cir. 1995);
 9   see also Officers for Justice, 688 F.2d at 625; Marshall v. Holiday Magic, Inc.,
10   550 F.2d 1173, 1178 (9th Cir. 1977); In re Mego Fin. Corp. Sec. Litig., 213
11   F.3d 454, 458 (9th Cir. 2000).
12           The authority to approve a class settlement is committed to the sound
13   discretion of the trial court. Torrisi v. Tucson Elec. Power Co., 8 F.3d 1370,
14   1375 (9th Cir. 1993); Ellis v. Naval Air Rework Facility, 87 F.R.D. 15, 18
15   (N.D. Cal. 1980), aff’d without op., 661 F.2d 939 (9th Cir. 1981). The Ninth
16   Circuit has prescribed a non-exhaustive list of relevant factors that a trial court
17   may consider in evaluating the fairness of a class action settlement, which
18   includes the following:
19           [T]he strength of plaintiffs’ case; the risk, expense, complexity,
20
             and likely duration of further litigation; the risk of maintaining
             class action status throughout the trial; the amount offered in
21           settlement; the extent of discovery completed, and the stage of the
22
             proceedings; the experience and views of counsel; the presence of
             a governmental participant; and the reaction of the class members
23           to the proposed settlement.
24
     Linney v. Cellular Alaska Partnership, 151 F.3d 1234, 1242 (9th Cir. 1998)
25
     (quoting Torrisi, 8 F.3d at 1375).
26
             While the district court exercises discretion in approving a settlement,
27
     the court’s evaluation of a proposed class settlement “must be limited to the
28
     601944516v2                              12                         Case No. CV 09-03568 CAS (PLAx)
                                                         MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                   PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                           CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 18 of 23 Page ID
                                 #:1175



 1   extent necessary to reach a reasoned judgment that the agreement is not the
 2   product of fraud or overreaching by, or collusion between, the negotiating
 3   parties, and that the settlement, taken as a whole, is fair, reasonable and
 4   adequate to all concerned.” Officers for Justice, 688 F.2d at 625. In Officers
 5   for Justice, the Ninth Circuit further explained:
 6
             [T]he settlement or fairness hearing is not to be turned into a trial
 7           or rehearsal for trial on the merits. Neither the trial court nor this
 8           court is to reach any ultimate conclusions on the contested issues
             of fact and law which underlie the merits of the dispute, for it is
 9           the very uncertainty of outcome in litigation and avoidance of
10           wasteful and expensive litigation that induce consensual
             settlements. The proposed settlement is not to be judged against
11
             a hypothetical or speculative measure of what might have been
12           achieved by the negotiators.
13   Id. (citations omitted).
14           Moreover, it is well established that “[t]he recommendations of
15   Plaintiffs’ Counsel should be given a presumption of reasonableness.” Boyd v.
16   Bechtel Corp., 485 F. Supp. 610, 622 (N.D. Cal. 1979) (citation omitted).
17           An examination of all of the relevant factors shows that this settlement
18   is fair, adequate and reasonable.
19           1.    The Revised Settlement is the Result of Arm’s-Length
20                 Negotiations
21           A proposed settlement is presumed to be fair and reasonable when it is
22   the result of arm’s-length negotiations. See Newberg on Class Actions §
23   11.41)); see also Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th
24   Cir. 1992); In re Lorazepam, 205 F.R.D. 369, 375-76 (D.D.C. 2002) (“A
25   ‘presumption of fairness, adequacy, and reasonableness may attach to a class
26   settlement reached in arm’s-length negotiations’”) (quoting Manual for
27   Complex Litigation (Third) § 30.42 (1995)); In re Holocaust Victim Assets
28
     601944516v2                               13                         Case No. CV 09-03568 CAS (PLAx)
                                                          MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                    PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                            CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 19 of 23 Page ID
                                 #:1176



 1   Litig., 105 F. Supp. 2d 139, 145-46 (E.D.N.Y. 2000) (stating that in
 2   determining fairness, the “consideration focuses on the negotiating process by
 3   which the settlement was reached”).
 4           It is well established that so long as settlement negotiations are
 5   conducted at arm’s-length by experienced counsel, a “strong initial
 6   presumption of fairness attaches to the proposed settlement.” In re Holocaust
 7   Victim Assets Litig., 105 F. Supp. 2d at 145-46 (internal citations and
 8   quotations omitted); In re NASDAQ Market-Makers Antitrust Litig., 176
 9   F.R.D. 99, 102 (S.D.N.Y. 1997) (“Where the proposed settlement appears to
10   be the product of serious, informed, non-collusive negotiations, has no
11   obvious deficiencies, does not improperly grant preferential treatment to class
12   representatives or segments of the class and falls within the range of possible
13   approval, preliminary approval should be granted.”).
14           Here, the Revised Settlement is the result of arm’s-length negotiations
15   between experienced Class Counsel and counsel for AOL. Further, settlement
16   negotiations were conducted under the supervision of retired United States
17   District Court Judge Dickran M. Tevrizian. The Revised Settlement reflects
18   not only the assistance and expertise of Judge Tevrizian, but also his approval.
19   Such extensive involvement of skilled professionals in settlement discussions
20   supports the conclusion that the settlement does not result from collusion. See
21   County of Suffolk v. Long Island Lighting Co., 907 F.2d 1295, 1323 (2d Cir.
22   1990); Pigford v. Glickman, 185 F.R.D. 82, 101 (D.D.C. 1999) (finding no
23   evidence of collusion between counsel due to presence of a neutral and
24   detached mediator at all settlement negotiations).
25           In short, nothing in the negotiations or the substance of the Revised
26   Settlement gives reason to doubt its fairness.
27

28
     601944516v2                               14                         Case No. CV 09-03568 CAS (PLAx)
                                                          MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                    PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                            CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 20 of 23 Page ID
                                 #:1177



 1           2.    The Class Received Benefits Through Prospective Relief and
 2                 Charitable Contributions
 3           Since the original settlement approved by this Court, AOL discontinued
 4   its footer practice. Through this Revised Settlement, AOL has agreed to
 5   change it business practice so that if it elects to re-establish its footer practice
 6   it will no longer be able to profit from intrusive e-mail footer advertisements
 7   without notifying Class Members of such footers and the ability to disable
 8   them. Further if AOL elects to re-establish its footer practice, it will give the
 9   same notice and instructions regarding disabling the footers to every new
10   subscriber.
11           In addition to the prospective relief, AOL will donate $110,000 to
12   several worthy charities as recompense for its allegedly wrongful conduct and
13   the alleged profits it unjustly obtained from third party advertisers. The
14   parties agreed to a settlement based on prospective relief because even if the
15   Class were able to recover the full amount AOL earned from the footer
16   advertisements, the amount due to each Class Member would be much less
17   than the cost to administer the payment. The evidence shows that AOL
18   received under $2 million in revenue since October 2008 when it began
19   inserting promotional messages from third parties in its subscribers outgoing
20   e-mails. Even if AOL were to pay the entire $2 million in damages to the
21   Class, each of the Class Members would receive approximately 3 cents, before
22   the costs of administering such a settlement were factored in.
23           3.    Class Counsel Performed Sufficient Research and Analysis to
24                 Adequately Assess the Revised Settlement and Was Able to
25                 Identify the Strengths and Weaknesses of the Case
26           This Revised Settlement follows a substantial factual investigation and
27   legal analysis of the claims and defenses of the parties. Plaintiffs have
28
     601944516v2                               15                         Case No. CV 09-03568 CAS (PLAx)
                                                          MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                    PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                            CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 21 of 23 Page ID
                                 #:1178



 1   conducted a comprehensive factual investigation into the matters set forth in
 2   the litigation, including an analysis of relevant documents and related data, as
 3   well as taking the deposition of Roy Ben-Yousef, the Vice President of AOL
 4   responsible for the e-mail footers. (Kellner Decl., ¶¶ 5-6.)
 5           Counsel for Plaintiffs and AOL engaged in numerous formal and
 6   informal settlement discussions, including two mediation sessions under the
 7   direction of the Hon. Dickran M. Tevrizian (Ret’d). (Kellner Decl., ¶ 7.)
 8   Judge Tevrizian was instrumental facilitating the mutual determination that the
 9   proposed Settlement was fair.
10           Based upon the foregoing, Class Counsel has concluded that a
11   settlement according to the terms and conditions set forth in the Revised
12   Settlement is fair, reasonable, adequate, and in the best interest of the Class.
13   (Kellner Decl., ¶¶ 7-8.) See In re Lorazepam, 205 F.R.D. at 377 (citing
14   Luevano v. Campbell, 93 F.R.D. 68, 86 (D.D.C. 1981) (“In evaluating the
15   fairness and adequacy of a settlement, it is important to consider whether the
16   settlement was reached after extensive factual development, so that counsel on
17   both sides would have had information sufficient to make a reasonable
18   assessment of their risks of litigation.”)).
19           4.    The Recommendations of Experienced Class Counsel Heavily
20                 Favor Approval of the Revised Settlement
21           Class Counsel and counsel for AOL entered into the Revised Settlement
22   after extensive, arduous, arm’s-length negotiations following substantial
23   factual investigation and legal analysis of the claims and defenses of the
24   parties. (Kellner Decl., ¶¶ 5-7.) Class Counsel endorse the Revised
25   Settlement as fair, reasonable and adequate.
26           “‘Great weight’ is accorded to the recommendations of counsel, who are
27   most closely acquainted with the facts of the underlying litigation.” Nat’l
28
     601944516v2                               16                         Case No. CV 09-03568 CAS (PLAx)
                                                          MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                    PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                            CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 22 of 23 Page ID
                                 #:1179



 1   Rural Telecoms. Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 528 (C.D. Cal.
 2   2004) (citation and internal quotations omitted). “This is because ‘parties
 3   represented by competent counsel are better positioned than Courts to produce
 4   a Settlement that fairly reflects each party’s expected outcome in the
 5   litigation.’” Id. (citations omitted). Moreover, absent fraud or collusion, the
 6   Court “should be hesitant to substitute its own judgment for that of counsel.”
 7   Id. at 582 (citing Cotton v. Hinton, 559 F.2d 1326, 1330 (5th Cir. 1977)).
 8            Counsel reached the Revised Settlement terms based upon the
 9   evaluation of information received from AOL, the independent investigation
10   performed by Plaintiffs and the evaluation of the risks of proceeding forward.
11   In sum, the terms of the Revised Settlement were fairly, honestly and
12   aggressively negotiated by all parties in good faith and at arm’s-length.
13            5.     The Reaction of the Class Supports Approval of the Revised
14                   Settlement
15            It is well settled that “the reaction of the class to the settlement is
16   perhaps the most significant factor to be weighed in considering its adequacy.”
17   Sala v. Nat’l R.R. Passenger Corp., 721 F. Supp. 80, 83 (E.D. Pa. 1989). In
18   fact, the lack of objections may well evidence the fairness of the settlement.
19   In re PaineWebber Ltd. Partnerships Litig., 171 F.R.D. 104, 126 (S.D.N.Y.
20   1997), aff‘d, 117 F.3d 721 (2d Cir. 1997).
21            Out of the over sixty million Class Members who received notice, as of
22   December 5, 2013, there are only five objections to the Revised Settlement.4
23   This is strong evidence that this Revised Settlement is fair, reasonable, and
24   adequate. Hanlon, 150 F.3d at 1027 (“the fact that the overwhelming majority
25   of the class willingly approved the offer and stayed in the class presents at
26
27   4
         The last day to file an objection is the date this Motion is filed: December 9,
         2013.
28
     601944516v2                                 17                         Case No. CV 09-03568 CAS (PLAx)
                                                            MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                      PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                              CLASS ACTION SETTLEMENT
Case 2:09-cv-03568-CAS-PLA Document 80-1 Filed 12/09/13 Page 23 of 23 Page ID
                                 #:1180



 1   least some objective positive commentary as to its fairness”); Marshall v.
 2   Holiday Magic, Inc., 550 F.2d 1173, 1178 (9th Cir. 1977) (“the small number
 3   of class members indicating their disapproval of the settlement, here only one
 4   percent, also indicates its acceptability.”).
 5           As elaborated in a separate pleading by AOL to address the arguments
 6   raised by the few objectors, the paucity of the objections – both in number and
 7   in substance – further supports approval of this Revised Settlement. Simply
 8   put, this is an acceptable settlement for the Class.
 9   V.      CONCLUSION
10           Based upon the foregoing, this Revised Settlement merits final
11   approval. Plaintiffs respectfully request that this Court enter an Order finally
12   approving the Revised Class Action Settlement and grant such other and
13   further relief as this Court deems just and proper.
14   Dated: December 9, 2013          KABATECK BROWN KELLNER, LLP
15                                    BRIAN S. KABATECK
                                      RICHARD L. KELLNER
16

17                                    By:       /s/ Richard L. Kellner
                                                Richard L. Kellner
18                                          Attorneys for Plaintiffs and the Settlement Class
19   Dated: December 9, 2013          THE NUNES LAW GROUP
20                                    GLENN C. NUNES

21                                    By:         /s/ Glenn C. Nunes
22                                               Glenn C. Nunes
                                            Attorneys for Plaintiffs and the Settlement Class
23
     Dated: December 9, 2013          HAMNER LAW OFFICES, APC
24
                                      CHRISTOPHER J. HAMNER
25
                                      By:         /s/ Christopher J. Hamner
26
                                                 Christopher J. Hamner
27                                          Attorneys for Plaintiffs and the Settlement Class
28
     601944516v2                               18                          Case No. CV 09-03568 CAS (PLAx)
                                                           MEMORANDUM OF POINTS & AUTHORITIES I//S/O
                                                     PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF REVISED
                                                                             CLASS ACTION SETTLEMENT
